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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION

THEODORE J. ZALLER, Individually and                 )
on Behalf of All Others Similarly Situated,1         )
                                                     )
          Plaintiff,                                 )
v.                                                   )
                                                     )          No. 2:19-cv-02415-SHL-dkv
FRED’S, INC., MICHAEL K. BLOOM,
                                                     )
WALGREENS BOOTS ALLIANCE, INC.,
                                                     )
STEFANO PESSINA and GEORGE R.
                                                     )
FAIRWEATHER,
                                                     )
          Defendants.                                )

           ORDER GRANTING MOTION OF GARY FIELDER, SUSAN CIESLA,
          AND HERBERT CIESLA TO: (1) APPOINT LEAD PLAINTIFFS; AND (2)
               APPROVE LEAD PLAINTIFFS’ SELECTION OF COUNSEL,
           GRANTING UNOPPOSED RENEWED MOTION FOR CONTINUANCE
           OF THE SCHEDULING CONFERENCE AND RELATED DEADLINES
            AND STAYING MATTER ONLY AS TO DEFENDANT FRED’S INC.


          Before the Court are competing motions of Plaintiff Theodore J. Zaller (ECF No. 26) and

Gary Fielder, Susan Ciesla and Herbert Ciesla (“Movant Plaintiffs”), seeking lead plaintiff and

counsel appointment (ECF No. 23), both filed August 27, 2019; Mr. Zaller’s notice of

withdrawal of his motion seeking lead plaintiff and counsel appointment (ECF No. 34), filed

September 9, 2019; and Defendants Walgreens Boot Alliance, Inc., Stefano Pessina and George

R. Fairweather’s (“WBA Defendants”) motion seeking continuance of the September 20, 2019

Scheduling Conference and accompanying deadlines (ECF No. 37), filed September 11, 2019.

For the following reasons, the Court GRANTS Movant Plaintiffs’ motion and GRANTS WBA

Defendants’ motion. The Court also addresses the Suggestion of Bankruptcy filed by Defendant

Fred’s Inc. (ECF No. 36) and related filing by Movant Plaintiffs (ECF No. 35.)



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    This action has not yet been certified as a class action.
                                                     1
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        This matter is a proposed class action involving allegations that Defendants violated the

Securities Exchange Act of 1934 and SEC Rule 10b-5. The Private Securities Litigation Reform

Act of 1995 (“PSLRA”) sets forth procedures for appointing a lead plaintiff and lead counsel in

securities class actions. See 15 U.S.C. § 78u-4. The PSLRA provides that, within twenty (20)

days of filing a putative securities class action, a plaintiff must circulate nationally a notice of the

pending action and the alleged claims and class period. 15 U.S.C. § 78u-4(a)(3)(A)(i)(I). Within

sixty (60) days after publishing such a notice, the PSLRA provides that any purported class

plaintiff may move to serve as lead plaintiff in the case. 15 U.S.C. § 78u-4(a)(3)(A)(i)(II).

Where there are multiple competing motions to serve as lead plaintiff, the Court must evaluate

the motions and appoint a lead plaintiff under a “most adequate plaintiff” standard within ninety

(90) days of the plaintiff’s publication of the statutory notice of the action. 15 U.S.C. § 78u-

4(a)(3)(B)(i). There is a rebuttable presumption that the most “adequate plaintiff” to serve as

lead plaintiff is the person or group of persons that:

    (aa) has either filed the complaint or made a motion in response to a notice. . . ;
    (bb) in the determination of the court, has the largest financial interest in the relief sought by
         the class; and
    (cc) otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure.

§ 78u-4(a)(3)(B)(iii).

        Here, Mr. Zaller published the required statutory notice on June 28, 2019, making

August 27, 2019, the deadline for lead plaintiff motions. On August 27, 2019, competing

motions were filed by Mr. Zaller (ECF No. 23) and Movant Plaintiffs (ECF No. 26) seeking lead

plaintiff appointment. However, after reviewing the competing motion, Mr. Zaller withdrew his

motion seeking lead plaintiff appointment on September 9, 2019. (ECF No. 34.) Now, the

Movant Plaintiffs’ pending motion seeking lead plaintiff appointment is the only one remaining.

As Movant Plaintiffs are the only purported class plaintiff seeking lead plaintiff appointment and

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having filed a motion in response to the published notice, the Court adopts the presumption that

the most adequate plaintiffs are Movant Plaintiffs and GRANTS Movant Plaintiffs’ motion

seeking lead plaintiff appointment and selecting Pomerantz LLP as lead counsel for the

purported class.

        Also before the Court is WBA Defendants’ motion to continue the September 20, 2019

Scheduling Conference and related deadlines. (ECF No. 37) In support of their motion, WBA

Defendants state that they anticipate the filing of an amended complaint by Movant Plaintiffs,

and that they intend to file motions to dismiss. (Id.) WBA Defendants aver that because PSLRA

directs courts to stay discovery during the pendency of any motion to dismiss, 15 U.S.C. § 78u-

4(b)(3)(B), the upcoming Scheduling Conference is premature. (ECF No. 37.) The Movant

Plaintiffs do not oppose the motion. (Id.)

        The Court finds the motion well-taken and it is GRANTED. Defendants need not

answer or otherwise respond to the Complaint until further order of the Court. Within seven (7)

days of this Order, the Parties shall submit (via the ECF mailbox) a proposed schedule for the

potential filing of an amended complaint and Defendants’ deadline to answer, move, or

otherwise respond to that complaint. The Court will evaluate that schedule to determine whether

it is appropriate, and will enter an initial scheduling order.

        Finally, the Court recognizes that Defendant Fred’s Inc.’s (“Fred’s”) filing of a Chapter

11 Bankruptcy Petition operates as a stay of the claims against Fred’s. (ECF Nos. 35-1, 36.)

Indeed, Fred’s filing of the Voluntary Petition for bankruptcy stays the commencement or

continuation of all judicial, administrative, or other actions or proceedings against Fred’s that

were or could have been commenced before the commencement of the bankruptcy action or to

recover any claims against Fred’s that arose before the commencement of the bankruptcy



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proceeding. See 11 U.S.C. § 362(a)(1). While the claims against Fred’s are automatically

stayed, claims against the other Defendants will proceed.

       IT IS SO ORDERED, this 13th day of September, 2019.

                                                    s/ Sheryl H. Lipman
                                                    SHERYL H. LIPMAN
                                                    UNITED STATES DISTRICT JUDGE




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